                 Case 20-15249-SMG              Doc 11       Filed 05/27/20        Page 1 of 75




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division

In re:
                                                                       Case No. 20-15249-SMG
PETER SAMUEL ROSEN,
                                                                       Chapter 13
      Debtor.
________________________________/

         BBX CAPITAL ASSET MANAGEMENT, LLC’S MOTION FOR SANCTIONS
          PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 90111

          Creditor, BBX CAPITAL ASSET MANAGEMENT, LLC (“BBX”), by and through

undersigned counsel and pursuant to Rule 9011 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), hereby moves this Court for an Order issuing sanctions against

Debtor, PETER SAMUEL ROSEN (“Debtor”), and Debtor’s counsel, Chad Van Horn

(“Debtor’s Counsel”), for the filing of Debtor’s voluntary petition for bankruptcy relief under

Chapter 13 of Title 11 of the United States Code (the “Bankruptcy Code”), which Debtor and

Debtor’s Counsel knew, or reasonably should have known, at the time of filing lacked

evidentiary and legal support. In support thereof, BBX states as follows:

                           FACTUAL AND PROCEDURAL PREDICATE

          1.      On May 13, 2020 (the “Petition Date”), the Debtor filed his voluntary petition for

relief under Chapter 13 of the Bankruptcy Code [ECF No. 1] (the “Chapter 13 Petition”), which

Petition has been assigned to this Court.


1
  Typically, a motion for sanctions “may not be filed with or presented to the court unless, within 21 days after
service of the motion …, the challenged paper, claim, defense, contention, allegation, or denial is not withdrawn or
appropriately corrected” – i.e., a “safe harbor” requirement. See Fed. R. Bankr. P. 9011(c)(1)(A). If, however, “the
offending paperwork is a bankruptcy petition,” the safe harbor requirement does not apply. In re Chan, 556 B.R. 61,
64 (Bankr. E.D.N.Y. 2016); see also Fed. R. Bankr. P. 9011(c)(1)(A) (“… except that this limitation shall not apply
if the conduct alleged is the filing of a petition in violation of subdivision (b).”). Notwithstanding this, and as a
matter of courtesy, undersigned counsel served a copy of the instant proposed Motion on Debtor’s Counsel on May
15, 2020.



1844988v1 600595.0017
                 Case 20-15249-SMG        Doc 11    Filed 05/27/20    Page 2 of 75




         2.       On July 3, 2013, BBX filed a complaint in the Circuit Court of the Seventeenth

Judicial Circuit, in and for Broward County, Florida (the “State Court”) seeking damages against

Debtor and others, which action was assigned Case No. CACE-13-016408 (the “State Court

Action”).

         3.       On February 3, 2020, BBX obtained a judgment against Debtor in the State Court

Action in the amount of $4,209,073.00 (the “BBX Judgment”). A copy of the BBX Judgment is

attached as Exhibit 1.

         4.       On March 4, 2020, Debtor filed an appeal of the BBX Judgment (the “Appeal”).

         5.       In addition to the BBX Judgment, undersigned counsel has located additional

judgments against Debtor recorded in Official Records of Leon County, Florida, the total amount

of which judgments exceed $2.7 million. No satisfactions or releases have been recorded for

these judgments. These judgment include:

                  (a)    a Consent Final Judgment in favor of Wakulla Bank, dated March 2, 2010,
                         in Leon County Circuit Court, Case No. 2010-CA-0197, for $219,839.47,
                         see Exhibit 2;

                  (b)    a Final Deficiency Judgment in favor of First Capital Bank, dated October
                         18, 2010, in Leon County Circuit Court, Case No. 2010-CA-18, for
                         $49,770.46, see Exhibit 3;

                  (c)    a Consent Final Judgment of Deficiency in favor of Regions Bank, dated
                         November 22, 2010, in the United States District Court, Northern District
                         of Florida, Case No. 4:10-cv-109, for $200,000.00, see Exhibit 4;

                  (d)    a Summary Final Judgment of Foreclosure and Summary Final Judgment
                         (for money damages) in favor of Regions Bank, dated March 25, 2011, in
                         Leon County Circuit Court, Case No. 2010-CA-001874 for $146,585.05,
                         see Exhibit 5;

                  (e)    a Final Deficiency Judgment in favor of Hancock Bank, dated May 16,
                         2012, in Leon County Circuit Court, Case No. 2010-CA-2787 for
                         $370,294.82, see Exhibit 6;




1844988v1 600595.0017
                 Case 20-15249-SMG        Doc 11    Filed 05/27/20    Page 3 of 75




                  (f)    a Final Deficiency Judgment in favor of Hancock Bank, dated May 17,
                         2012, in Leon County Circuit Court, Case No. 2010-CA-3878 for
                         $47,968.47, see Exhibit 7;

                  (g)    a Stipulated Judgment of Deficiency in favor of Hancock Bank, dated
                         September 10, 2014, in Leon County Circuit Court, Case No. 2011-CA-
                         3421 for $100,000.00, see Exhibit 8;

                  (h)    a Final Deficiency Judgment in favor of Centennial Bank, dated July 12,
                         2013, in Leon County Circuit Court, Case No. 2012-CA-000955, for
                         $375,973.59, see Exhibit 9;

                  (i)    a Final Judgment in favor Fannie Mae, dated December 6, 2013, in Leon
                         County Circuit Court, Case No. 2010-CA-1868, for $675,000.00, see
                         Exhibit 10;

                  (j)    a Final Judgment After Default in favor of First American Title Insurance
                         Company, dated January 15, 2016, in Leon County Circuit Court Case No.
                         2015-CA-002530, for $259,047.38, see Exhibit 11;

                  (k)    a Final Judgment of Deficiency in favor Branch Banking and Trust
                         Company, dated Nov. 25, 2015, in Leon County Circuit Court Case No.
                         2014-CA-000639, for $180,142.93, see Exhibit 12;

                  (l)    a Final Deficiency Judgment for Damages in favor SE Property Holdings,
                         LLC, dated March 21, 2017, in Leon County Circuit Court Case No. 2014-
                         CA-001741, for $71,920.77, see Exhibit 13.

(the “Additional Judgments”).

         6.       On May 13, 2020 (i.e., the Petition Date), Debtor was scheduled to appear in the

State Court Action at 8:45 a.m. for a hearing on BBX’s Second Motion to Compel and for

Sanctions related to Debtor’s failure to respond to discovery in aid of execution of the BBX

Judgment, as well as a hearing on BBX’s Motion for a Charging Order (the “Post Judgment

Motions”).

         7.       Additionally, on May 13, 2020, Debtor was scheduled to appear and have his

deposition taken in aid of execution of the BBX Judgment (the “Deposition in Aid of

Execution”).




1844988v1 600595.0017
                 Case 20-15249-SMG         Doc 11     Filed 05/27/20     Page 4 of 75




         8.       Neither the Post Judgment Motions nor the Deposition in Aid of Execution were

held as a result of Debtor’s filing of his Chapter 13 Petition.

                        RELIEF REQUESTED AND MEMORANDUM OF LAW

I.       RULE 9011 STANDARD.

         Bankruptcy Rule 9011(b) provides that:

                  By presenting to the court (whether by signing, filing, submitting,
                  or later advocating) a petition, pleading, written motion, or other
                  paper, an attorney … is certifying that to the best of the person’s
                  knowledge, information, and belief, formed after an inquiry
                  reasonable under the circumstances,

                           (1)   it is not being presented for any improper
                                 purpose, such as to harass or to cause unnecessary
                                 delay or needless increase in the cost of litigation;

                           (2)   the claims, defenses, and other legal contentions
                                 therein are warranted by existing law or by a
                                 nonfrivolous argument for the extension,
                                 modification, or reversal of existing law or the
                                 establishment of new law;

                           (3)   the allegations and other factual contentions have
                                 evidentiary support or, if specifically so identified,
                                 are likely to have evidentiary support after a
                                 reasonably opportunity for further investigation or
                                 discovery; and

                           (4)   the denials of factual contentions are warranted on
                                 the evidence or, if specifically so identified, are
                                 reasonably based on a lack of information or belief.

Fed. R. Bankr. P. 9011(b) (Emphasis added). Thus, “[i]n filing a pleading in a federal court, an

attorney certifies that he or she has conducted a reasonable inquiry and that the pleading is well-

grounded in fact, legally tenable, and ‘is not presented for any improper purpose.’” Baker v.

Alderman, 158 F.3d 516, 524 (11th Cir. 1998). Thus, “[s]anctions under Bankruptcy Rule 9011

are warranted when (1) the papers are frivolous, legally unreasonable or without factual




1844988v1 600595.0017
                 Case 20-15249-SMG      Doc 11     Filed 05/27/20    Page 5 of 75




foundation, or (2) the pleading is filed in bad faith or for an improper purpose.” In re Mroz, 65

F.3d 1567, 1572 (11th Cir. 1995); see also In re Fazzary, 530 B.R. 903, 904 (Bankr. M.D.Fla.

2015) (holding that sanctions under Rule 9011 may be warranted “if a bankruptcy case was filed

in bad faith or for an improper purpose.”). The objective standard for testing conduct under Rule

11 is “reasonableness under the circumstances” and “what was reasonable to believe at the time’

the pleading was submitted.” Baker, 158 F.3d at 524.

         In applying the objective standard to determine whether papers are frivolous or legally

unreasonable, courts undertake a two-step analysis: “whether the party’s claims are objectively

frivolous in view of the facts or law and then, if they are, whether the person who signed the

pleadings should have been aware that they were frivolous; that is, whether he would have been

aware had he made a reasonable inquiry.” In re Evergreen Sec., Ltd., 384 B.R. 882, 931 (Bankr.

M.D. Fla. 2008) (Internal citations omitted); see also Baker, 158 F.3d at 524. What constitutes a

reasonable inquiry may depend on such factors as how much time for investigation was available

to the signer and whether he had to rely on a client for information as to the underlying facts,

whether the pleading, motion, or other paper was based on a plausible view of the law, or

whether he depended on forwarding counsel or another member of the bar. Donaldson v. Clark,

819 F.2d 1551, 1556 (11th Cir. 1987).

         Similarly, in determining whether a bankruptcy petition was filed in bad faith or for an

improper purpose, “courts generally consider the totality of the circumstances surrounding the

filing.” In re Fazzary, 530 B.R. at 906; see also In re Farber, 355 B.R. 362, 366-67 (Bankr. S.D.

Fla. 2006). Where a reasonable person would not have taken the same actions that Debtor or

Debtor’s Counsel took, a court may find a violation of the “bad faith/improper purpose” prong of

Rule 9011. In re Graffy, 233 B.R. 894, 896 (Bankr. M.D. Fla. 1999). “Case law clearly




1844988v1 600595.0017
                 Case 20-15249-SMG      Doc 11     Filed 05/27/20     Page 6 of 75




establishes that imposition of sanctions is appropriate when a bankruptcy petition is not filed for

legitimate, rehabilitative purposes, and the sole purpose for the filing is to delay [a creditor’s

efforts].” In re Johnson, No. 07-33312-KRH, 2008 WL 183342, at * 7 (Bankr. E.D.Va. Jan. 18,

2008) (relying on In re Grigsby, 233 B.R. 558 (Bankr. S.D. Fla. 1999)).

         If the Court determines that subdivision (b) has been violated, the Court may impose an

appropriate sanction upon the attorneys, law firms, or parties that have violated subdivision (b)

or are responsible for the violation. See Fed. R. Bankr. P. 9011(c); see also In re Ktona, 329

B.R. 105, 108 (Bankr. M.D. Fla. 2005) (imposing sanctions against debtor and his attorney for

filing the bankruptcy petition in the wrong district, and for the delayed effect that such filing

would have upon the pending litigation against the debtor); In re Evergreen, 384 B.R. at 930

(“An attorney may be sanctioned pursuant to Rule 9011 even though the attorney did not sign the

paper but orchestrated its filing.”).

II.      RULE 9011 SANCTIONS ARE APPROPRIATE BECAUSE THE FILING OF
         DEBTOR’S BANKRUPTCY PETITION WAS LEGALLY UNTENABLE.

         Pursuant to Section 109(e) of the Bankruptcy Code, “[o]nly an individual with regular

income that owes, on the date of filing of the petition, noncontingent, liquidated, unsecured

debts of less than $419,275 and noncontingent, liquidated secured debts of less than

$1,256,850.” 11 U.S.C. § 109(e) (Emphasis added). By virtue of the BBX Judgment alone (not

to mention the Additional Judgments), Debtor is not an eligible Chapter 13 Debtor, and the fact

of the Appeal does not change this. Indeed, the BBX Judgment “clearly represents a liability

which is fixed and which is noncontingent and remains a final and enforceable judgment until it

is reversed, if ever, upon appeal.” In re Cluett, 90 B.R. 505, 507 (Bankr. M.D. Fla. 1988); see

also In re Vidal, No. 04-1195BKC-RAM, 2004 WL 2656893, at * 1 (Bankr. S.D. Fla. Oct. 13,

2004) (“Most, if not all courts, considering this issue have concluded that an otherwise final



1844988v1 600595.0017
                 Case 20-15249-SMG        Doc 11     Filed 05/27/20     Page 7 of 75




judgment for an amount certain, is not rendered as “contingent” or “unliquidated” merely

because an appeal has been filed and is prosecuted during the Chapter 13 case.”).

         Upon a reasonable inquiry, Debtor and/or Debtor’s Counsel knew or should have known

about the existence of the BBX Judgment and Additional Judgments, and that such judgments

disqualified Debtor from being eligible as a Chapter 13 debtor by the plain letter of the

Bankruptcy Code. Indeed, the BBX Judgment had only recently been entered and Debtor was

scheduled to appear at hearings and a deposition related to same on the same morning that the

Chapter 13 Petition was filed. Instead, Debtor and Debtor’s Counsel chose to proceed with filing

the Chapter 13 Petition in disregard of the Bankruptcy Code.

III.     RULE 9011 SANCTIONS ARE FURTHER APPROPRIATE BECAUSE
         DEBTOR’S BANKRUPTCY PETITION WAS FILED IN BAD FAITH.

         As stated above, “[f]iling a bankruptcy petition in bad faith may constitute conduct that is

sanctionable under Rule 9011.” In re Fazzary, 530 B.R. at 906; see also 11 U.S.C. 1325(a)(7)

(requiring that, to confirm a plan, a petition must have been filed in good faith). In determining

whether a debtor filed his petition in good faith, courts look to the totality of circumstances and

consider a set of non-exclusive factors. In re Farber, 355 B.R. at 366-67; see also In re

Kitchens, 702 F.2d 885, 888-89 (11th Cir. 1983) (setting forth the non-exclusive list of factors).

Particularly significant, though, are the “motivations of the debtor and his sincerity in seeking

relief under the provisions of Chapter 13.” In re Farber, 355 B.R. at 368.

         Here, the circumstances indicate that Debtor’s filing of the Chapter 13 Petition was made

in bad faith and in an attempt to thwart BBX’s post-judgment collection efforts.

Notwithstanding the fact that Debtor was and is ineligible to be a debtor under Chapter 13 of the

Bankruptcy Code (as stated above), Debtor filed his Chapter 13 Petition on the same morning

that Debtor was to appear before the State Court for a hearing on BBX’s Second Motion to



1844988v1 600595.0017
                 Case 20-15249-SMG      Doc 11    Filed 05/27/20     Page 8 of 75




Compel and for Sanctions (related to Debtor’s failure to respond to discovery in aid of execution

of the BBX Judgment) and BBX’s Motion for a Charging Order (both scheduled to be heard at

8:45 a.m.), and then sit for a deposition in aid of execution of the BBX Judgment (to begin at

10:00 a.m.). Clearly, Debtor’s Chapter 13 Petition is nothing more than an effort to avoid having

to answer to the State Court for his failure to respond to post-judgment discovery, and to avoid

responding to post-judgment discovery at all.

                                        CONCLUSION

         Rule 9011 is “intended to deter claims with no factual or legal basis at all ….” In re

Evergreen, 384 B.R. at 931 (Italics in original) (Quoting Davis v. Carl, 906 F.2d 533, 538 (11th

Cir. 1990)). As a result, sanctions are appropriate “where the presenter has ‘ignored the plain

language of the applicable statute.’” Id. Here, Debtor and Debtor’s Counsel have ignored the

plain language of the Bankruptcy Code, limiting Chapter 13 to only those debtors who owe, on

the date of filing of the petition, noncontingent, liquidated, unsecured debts of less than

$419,275, by filing the Chapter 13 Petition despite the BBX Judgment entered against Debtor in

the amount of $4,209,073.00, in addition to the Additional Judgments in excess of $2.7 million.

Because of Debtor’s ineligibility under Chapter 13, Debtor’s filing was improper and in bad

faith, where the clear purpose of the filing was to avoid appearing before the State Court on the

Post Judgment Motions and for a deposition in aid of execution of the BBX Judgment.

Sanctions under Bankruptcy Rule 9011 are therefore appropriate.

         WHEREFORE, Creditor, BBX CAPITAL ASSET MANAGEMENT, LLC, respectfully

requests that this Court enter an order (1) granting the relief requested herein; (2) imposing

sanctions against Debtor and Debtor’s counsel; and (3) granting such further and other relief as

this Court deems just and proper.




1844988v1 600595.0017
                 Case 20-15249-SMG     Doc 11     Filed 05/27/20    Page 9 of 75




Dated this 27th Day of May, 2020.

                                                   TRIPP SCOTT, P.A.
                                                   Counsel for BBX Capital Asset
                                                   Management, LLC
                                                   110 Southeast Sixth Street
                                                   Fifteenth Floor
                                                   Fort Lauderdale, Florida 33301
                                                   Telephone: (954) 525-7500
                                                   Facsimile: (954) 761-8475

                                            By:   /s/ Christina V. Paradowski
                                                   Christina V. Paradowski
                                                   Florida Bar No. 0056708
                                                   cvp@trippscott.com
                                                   hbb@trippscott.com


                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 27, 2020, a copy of the foregoing was electronically

filed with the Court using the CM/ECF system, which sent notification to all parties of interest

who are participating in the CM/ECF system.

                                                   By: Christina V. Paradowski
                                                      CHRISTINA V. PARADOWSKI




1844988v1 600595.0017
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 10 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 11 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 12 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 13 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 14 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 15 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 16 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 17 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 18 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 19 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 20 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 21 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 22 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 23 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 24 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 25 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 26 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 27 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 28 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 29 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 30 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 31 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 32 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 33 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 34 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 35 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 36 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 37 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 38 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 39 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 40 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 41 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 42 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 43 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 44 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 45 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 46 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 47 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 48 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 49 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 50 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 51 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 52 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 53 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 54 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 55 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 56 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 57 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 58 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 59 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 60 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 61 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 62 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 63 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 64 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 65 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 66 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 67 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 68 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 69 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 70 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 71 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 72 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 73 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 74 of 75
Case 20-15249-SMG   Doc 11   Filed 05/27/20   Page 75 of 75
